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AO 91 (Rev. 11111) Criminal Complaint


                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                                    District of Columbia

                      United States of America                                   )
                    v.                                                           )
GREGORY RICHARD PURDY, (DOB:XXXXXXXXX)                                           )       Case No.
    MATTHEW PURDY, (DOB: XXXXXXXXX)                                              )
    ROBERT TURNER, (DOB: XXXXXXXXX)                                              )
                                                                                 )
                                                                                 )
                             Defendant(s)


                                                         CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                          January 6, 2021                      in the county of                                         in the
                            in the District of           Columbia           , the defendant(s) violated:
         Code Section                       Offense Description                                             Defendant

          18 u.sc §§ 23 I(a)(3), 2-         Civil Disorder                                      Defendant Gregory Richard Purdy
                                                                                                Defendant Robert Turner

          18 U s.C §§ 111(a)(I), 2-         Assaulting, Resisting, or Impeding Certain          Defendant Gregory Richard Purdy
                                            Officers                                            Defendant Robert Turner

          18 U   s.c. §§ 1512(cX2), 2-      Obstruction of an Official Proceeding and           Defendant Gregory Richard Purdy
                                            Aiding and Abetting;                                Defendat Robert Turner

          18 Us.c. § 1752(a)(I)-            Entering and Remaining in a Restricted              Defendant Gregeory Richard Purdy
                                            Building or Grounds;                                Defendant Matthew Purdy
                                                                                                Defendant Robert Turner

          18 U S.c. § I 752(a)(2) -         Disorderly and Disruptive Conduct in a              Defendant Gregory Richard Purdy
                                            Restricted Building or Grounds                      Defendant Matthew Purdy
                                                                                                Defendant Robert Turner

         40 U S.c. § 5104(e)(2)(D)-         Disorderly Conduct in a Capitol Building;           Defendant Gregory Richard Purdy
                                                                                                Defendant Matthew Purdy
                                                                                                Defenadnt Robert Turner

         40 USC § 5104(e)(2)(G)-            Parading, Demonstrating, or Picketing in            Defendant Gregory Richard Purdy
                                            a Capitol Building                                  Defendant Matthew Purdy
                                                                                                Defendant Robert Turner
           This criminal complaint is based on these facts:

           See attached statement of facts.

                    N Continued on the attached sheet.
                                                                                                      Michael Jeng, Spec'
                                                                                                               Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone.                                                                                                              Digitally signed by G. Michael
                                                                                         G. Michael Harvey Harvey
                                                                                                                           Date: 2021.11.03 22:46:46 -04'00'
Date:               11103/2021
                                                                                                                  Judge's signature


City and state:                             Washington, D.C.                               G. Michael Harvey, U.S. Magistrate Judge
                                                                                                               Printed name and title
